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In re LTL Management LLC, Debtor                                                                               Case No. 21-30589 (MBK)
                                                                                   Reporting Period: January 30, 2023 – February 26, 2023



                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF NEW JERSEY

                                           MONTHLY OPERATING REPORT

 GLOBAL NOTES AND STATEMENTS OF LIMITATIONS AND DISCLAIMERS REGARDING
                THE DEBTOR’S MONTHLY OPERATING REPORT

        LTL Management LLC, the debtor (the “Debtor”) in the above-referenced chapter 11 case (the “Chapter 11
Case”), with the assistance of its advisors, is filing this Monthly Operating Report (“MOR”) with the United States
Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”), pursuant to section 521 of title 11 of the
United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of
Bankruptcy Procedure (the “Bankruptcy Rules”).

       These Global Notes and Statements of Limitations and Disclaimers Regarding the Debtor’s Monthly
Operating Report (the “Global Notes”) pertain to, are incorporated by reference in, and comprise an integral part of
the MOR. The Global Notes should be referred to, considered, and reviewed in connection with any review of the
MOR.

       The MOR does not purport to represent financial statements prepared in accordance with Generally Accepted
Accounting Principles in the United States (“GAAP”), nor is it intended to be fully reconciled with the financial
statements of the Debtor.

1.       General Methodology: The Debtor is filing this MOR to comply with the applicable reporting requirements
in the Chapter 11 Case. The financial information contained herein is unaudited, limited in scope, and as such, has not
been subjected to procedures that would typically be applied to financial statements in accordance with GAAP. The
MOR should not be relied on by any person for information relating to current or future financial condition, events, or
performance of the Debtor or its affiliates, as the results of operations contained herein are not necessarily indicative
of results that may be expected from any other period or for the full year, and may not necessarily reflect the combined
results of operations, financial position, and schedule of receipts and disbursements in the future. There can be no
assurance that such information is complete, and the MOR may be subject to revision. The Global Notes should be
referred to, and referenced in connection with, any review of the MOR.

2.       Basis of Presentation: The Debtor is maintaining its books and records in accordance with GAAP and the
information furnished in this MOR uses the Debtor’s accrual method of accounting. In preparing the MOR, the Debtor
relied on financial data derived from its books and records that was available at the time of preparation. Nevertheless,
in preparing this MOR, the Debtor made reasonable efforts to supplement the information set forth in its books and
records with additional information concerning transactions that may not have been identified therein. Subsequent
information may result in material changes to the MOR and errors or omissions may exist.

3.      Reporting Period: Unless otherwise noted herein, the MOR generally reflects the Debtor’s books and records
and financial activity occurring during the applicable reporting period. Except as otherwise noted, no adjustments have
been made for activity occurring after the close of the reporting period. The Debtor maintains its books and records
on a 52-week schedule, which accounts for month-end utilizing a 4-4-5 week method, rather than on a calendar month
basis. As a result, the reporting period for this MOR is from January 30, 2023 to February 26, 2023.

4.       Accuracy: The financial information disclosed herein was not prepared in accordance with federal or state
securities laws or other applicable non-bankruptcy law or in lieu of complying with any periodic reporting
requirements thereunder. Persons and entities trading in or otherwise purchasing, selling, or transferring the claims
against the Debtor should evaluate this financial information in light of the purposes for which it was prepared. The
Debtor is not liable for and undertakes no responsibility for any evaluations of the Debtor based on this financial
information or any other information.
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5.       Receipts, Accounts Receivable, Postpetition Payables and Funding Agreement: The Debtor is party to a
funding agreement (the “Funding Agreement”) with Johnson & Johnson Consumer Inc. (“New JJCI”) and Johnson
& Johnson (together with New JJCI, the “Payors”). A copy of the Funding Agreement is attached as Annex 2 to the
Declaration of John K. Kim in Support of First Day Pleadings [Dkt. 5] (the “First Day Declaration”). Among other
things, the Funding Agreement obligates the Payors, on a joint and several basis, to provide funding, up to the full
value of New JJCI, to pay for costs and expenses of the Debtor incurred in the normal course of its business during
the pendency of any chapter 11 case, including the costs of administering the chapter 11 case. The terms of the Funding
Agreement are described in detail in the First Day Declaration. The Funding Agreement imposes no repayment
obligation on the Debtor. The amount reported in part 1.b represents fulfillment of the Debtor’s funding request by the
Payors pursuant to the Funding Agreement. The amount reported in part 2.a. represents: (a) the amount of proposed
funding of a qualified settlement fund for payment of talc claims, which, if approved, will be considered pre-funding
for Permitted Funding Uses (as such term is defined in the Funding Agreement) and treated as a Payment (as such
term is defined in the Funding Agreement) for all purposes; (b) the estimated funding under the Funding Agreement
in respect of the accrued amount of postpetition Debtor’s and certain of the Official Committee of Talc Claimants’
retained professionals’ fees during the reporting period, as well as the fees with respect to the Court-appointed expert
and his professionals; (c) the estimated funding under the Funding Agreement in respect of amounts payable by the
Debtor under the Debtor’s secondment agreement (the “Secondment Agreement”) with Johnson & Johnson Services,
Inc. (“J&J Services”) and the Debtor’s services agreement (the “Services Agreement”) with J&J Services; and (d) the
estimated funding under the Funding Agreement, if any, in respect of amounts payable by the Debtor to the Debtor’s
independent manager. The postpetition payable amount reported in part 2.f. includes the amounts described in (b) and
(c) of the immediately preceding sentence. The amount of postpetition professional fees and expenses for retained
professionals includes the total amount of fees and expenses set forth in a filed monthly fee statement. Postpetition
professional fees remain subject to further reconciliation and, as to retained professionals, the requirements of the
Order Establishing Procedures for Interim Compensation and Reimbursement of Retained Professionals [Dkt. 761],
and the Debtor reserves all rights to object to any fees and expenses requested by any professional. The amount in
part 2.a. does not reflect any other amounts that the Debtor may be entitled to under the Funding Agreement. The
Services Agreement and the Secondment Agreement are described in the First Day Declaration.

6.       Total Current Assets and Total Assets: The amount reported in part 2.d. represents the amount of the
Debtor’s accounts receivable reported in part 2.a. plus the amount of the Debtor’s cash as of February 26, 2023. The
amount reported as a Prepaid Expense in the Debtor’s balance sheet represents retainers paid to Ernst & Young and
Cassels Brock & Blackwell LLP for their roles in the proceedings commenced on December 17, 2021, pursuant to
Part IV of the Companies’ Creditors Arrangement Act (Canada) R.S.C. 1985, c. C-36s (the “Canadian Proceedings”).
See Dkt. 546. There is a de minimis receivable on account of reimbursement due from Patterson Belknap Webb &
Tyler LLP and Lighthouse Technologies, Inc. as a result of certain amounts paid by the Debtor that were subsequently
determined not to have been owed. No amounts are reported in part 2.e. with respect to certain pre-petition amounts
paid by Johnson & Johnson on behalf of the Debtor on which Johnson & Johnson is also obligated, because the Debtor
believes it will owe Johnson & Johnson in respect of those amounts pursuant to an indemnity or otherwise. Such
amounts are included in the Debtor’s balance sheet as a liability in the Liabilities Subject to Compromise line item.
This line item is discussed further below in the note regarding Prepetition Unsecured Debt, Liabilities Subject to
Compromise, and Due to Affiliate. Any additional amounts available to the Debtor under the Funding Agreement are
not reflected in the reported assets. The amount reported on the balance sheet as Due from Subsidiary represents the
amount due from Royalty A&M LLC (“RAM”) to the Debtor in connection with the Secondment Agreement.

7.      Prepetition Unsecured Debt, Liabilities Subject to Compromise (“LSTC”) and Due to Affiliate: The Due
to Affiliate line item in the attached balance sheet represents amounts due to J&J Services from the Debtor in
connection with the Secondment and/or Services Agreements and are reported in parts 2.f., 2.j. and 2.n. The amount
reported in part 2.m. and as LSTC in the attached balance sheet represents the total amount of prepetition professionals
fees on the Debtor’s books and records. This amount differs from the total amount reported by professionals in their
retention applications. The total amount reported by professionals exceeds the amount reflected in the Debtor’s books
and records, and may include amounts not invoiced to the Debtor as of the commencement of the Chapter 11 Case or
other amounts potentially not payable by the Debtor. Amounts reported as Prepetition Unsecured Debt or LSTC do
not include any amount for the Debtor’s talc-related liability. Prepetition liabilities that are subject to compromise
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under ASC 852 are preliminary and may be subject to, among other things, future adjustments depending on Court
actions, further developments with respect to disputed claims, rejection of executory contracts, continued
reconciliation or other events.

8.    Insurance: The Debtor is an additional insured on various types of insurance maintained by its ultimate parent
company, Johnson & Johnson (collectively, the “J&J Insurance Policies”). Insurance coverage includes workers’
compensation coverage, casualty/property insurance and general liability insurance as reported in part 7.i.

9.       Amounts Reported in Part 4: The Debtor did not have income during the reporting period. However, the
Debtor received funding of $4,200,000 under the Funding Agreement, which has been reflected as a contra expense
in part 4.f, pursuant to the Funding Agreement. Further funding, if necessary, will be available under the Funding
Agreement to satisfy the Debtor’s expenses, including those reported in part 4. See notes regarding Receipts, Accounts
Receivable, Postpetition Payables and Funding Agreement above. The amount reported in part 4.f. reflects amounts
incurred under the Services Agreement. These expenses are also reported in the attached Statement of Operations
(Profit or Loss Statement). The amount reported in part 4.e. as general and administrative expenses represents amounts
incurred under the Secondment Agreement. The amount reported in part 4.j. represents the estimated accrued amount
of postpetition professionals’ fees during the reporting period and includes postpetition professionals’ fees for the
Debtor’s and the Official Committee of Talc Claimants’ retained professionals. ASC 852 requires expenses and
income directly associated with the Chapter 11 Case to be reported separately in the income statement as reorganization
items. Reorganization items primarily include expenses related to legal advisory and representation services, other
professional consulting and advisory services, and changes in liabilities subject to compromise recognized as there are
changes in amounts expected to be allowed as claims. Nothing contained in this MOR shall constitute a waiver of the
Debtor’s rights or an admission with respect to the Chapter 11 Case, including, but not limited to, matters involving
objections to claims, equitable subordination, defenses, characterization or re-characterization of contracts, assumption
or rejection of contracts under the provisions of chapter 3 of Title 11 of the Bankruptcy Code and/or causes of action
under the provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable laws to recover assets or
avoid transfers.

10.      Professional Fees and Expenses: On November 4, 2021, the United States Bankruptcy Court for the Western
District of North Carolina entered an order authorizing the Debtor to employ Epiq Corporate Restructuring, LLC
(“Epiq”) as Claims, Noticing and Ballot Agent [Dkt. 320]. Although Epiq is not a professional of the Debtor and is
not subject to the compensation procedures for retained professionals, the Debtor has included amounts paid to Epiq
in part 5.a. In addition, the amount reported for Sills Cummis & Gross P.C. in part 5.b. as paid cumulative reflects a
refund of $1,585.00 received by the Debtor for amounts inadvertently charged to the Debtor. The amount in part 5.c
includes amounts that the Debtor paid to Ernst & Young in connection with its role in the Canadian Proceedings, as
well as amounts that the Debtor paid to the court-appointed Fee Examiner [Dkt. 1922] and his counsel [Dkts. 1966,
1967] in connection with the Chapter 11 Case. The amount in part 5.c does not include amounts paid to the court-
appointed Federal Rule of Evidence 706 expert [Dkt. 2881].

11.     Intercompany Transactions and Balances: Prior to the Petition Date (and subsequent to the Petition Date),
the Debtor engaged (and continues to engage) in certain intercompany transactions. Intercompany transactions
between the Debtor and its non-Debtor affiliate entities are reported in the statement of cash receipts and
disbursements, the balance sheet and statement of income (loss) contained herein.

12.     Reservation of Rights: The Debtor reserves all rights to amend or supplement the MOR in all respects, as
may be necessary or appropriate, but shall be under no obligation to do so. Nothing contained in this MOR shall
constitute a waiver of the Debtor’s rights or an admission with respect to the Chapter 11 Case.
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         Debtor                         Reporting Period:          January 30 ‐ February 26, 2023


                    DEBTORʹS SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

                                                                  LTL Management LLC
         Dollars in Millions                                           Acct. 3987

         Receipts
         Intercompany Receipts                              $                               4.20
         Receipts from Subsidiary                                                             ‐
         Other Receipts                                                                       ‐
         Total Receipts                                                                     4.20

         Operating Expenses
         G&A                                                                               (0.00)
         Income Tax                                                                           ‐
         Total Operating Expense                                                           (0.00)

         Non‐Operating Expenses
         Professional Fees                                                                 (2.78)
         Intercompany Transfers                                                               ‐
         UST Fees                                                                             ‐
         Total Non‐Operating Expenses                                                      (2.78)
         Total Disbursements                                                               (2.78)


         Change in Cash
         Beginning Cash (Book)                                                             14.37
         Net Cash Flow                                                                      1.42
         Ending Cash (Book)                                 $                              15.78




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In re   LTL Management LLC                                                    Case No.                     21‐30589 (MBK)
        Debtor                                                        Reporting Period:      January 30 ‐ February 26, 2023



                                                  LTL Management LLC

                                                     Balance Sheet
                                                  (Dollars in Millions)



        Assets                                                            October 14, 2021        February 26, 2023
        Current Assets
        Cash                                                    $                    6.00    $                15.78
        Prepaid Expense                                                               ‐                        0.12
        All Other Miscellaneous Receivables                                           ‐                        0.01
        Due From Subsidiary                                                           ‐                        0.04
        Due From Parent                                                          2,000.00                  2,010.25
        Total Current Assets                                                     2,006.00                  2,026.19
        Investment in Subsidiary                                                   367.13                    367.13
        Total Assets                                            $                2,373.13    $             2,393.32
        Liabilities & Shareholders Equity
        Accounts Payable & Accrued Liabilities                                        ‐                       21.13
        Due to Affiliate                                                              ‐                        0.40
        Liabilities Subject to Compromise                                            8.28                      8.06
        Total Liabilities                                       $                    8.28    $                29.59
        Shareholders Equity
        Paid in Capital                                                          2,373.13                  2,373.13
        Accumulated Deficit                                                         (8.28)                    (9.40)
        Total Shareholders Equity                               $                2,364.85 $                2,363.73
        Total Liabilities & Shareholders Equity                 $                2,373.13 $                2,393.32
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In re   LTL Management LLC                                                   Case No.                    21‐30589 (MBK)
        Debtor                                                       Reporting Period:     January 30 ‐ February 26, 2023



                                                   LTL Management LLC

                                   Statement of Operations (Profit or Loss Statement)
                                                 (Dollars in Millions)

                                                                   October 14, 2021 ‐          January 30, 2023 ‐
        Income                                                     February 26, 2023           February 26, 2023
        Total Income                                           $                    ‐      $                    ‐

        Expenses
        Financial Services                                                         0.16                         0.01
        General & Administrative                                                   1.58                         0.07
        Other Postpetition Legal Expenses                                          1.47                          ‐
        Contra Expense                                                          (127.80)                       (4.20)

        Earnings Before Reorganization Items                                     124.58                         4.12

        Reorganization Items
        Legal Expenses                                                           134.83                         8.77

        Income/(Loss) Before Provision for Taxes                                  (10.25)                      (4.65)
        Provision for Taxes on Income/(Loss)                                         ‐                           ‐
        Net Income/(Loss)                                      $                  (10.25) $                    (4.65)
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In re   LTL Management LLC                                             Case No.                      21‐30589 (MBK)
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                                            Cash Disbursement Schedule

                 Date                               Counterparty                           Amount
        i. Professional Fee Disbursements
                2/1/2023        Houlihan Lokey Capital, Inc.                       $             140,000.00
                2/3/2023        Bailey Glasser LLP                                 $              52,903.63
                2/3/2023        Otterbourg PC                                      $             216,113.67
                2/3/2023        Randi S. Ellis LLC                                 $              31,644.00
                2/3/2023        Walsh Pizzi OʹReilly Falanga LLP                   $             165,672.18
                2/8/2023        Anderson Kill PC                                   $              91,222.19
                2/8/2023        Blake Cassels Graydon LLP                          $               4,141.23
                2/8/2023        Massey Gail LLP                                    $              25,440.00
               2/10/2023        Weil, Gotshal Manges, LLP                          $              20,852.00
               2/21/2023        Bates White, LLC                                   $             414,472.00
               2/21/2023        Berkeley Research Group LLC                        $              50,185.60
               2/21/2023        Bernstein Shur Sawyer & Nelson P.A.                $             109,495.60
               2/21/2023        Blake Cassels Graydon LLP                          $               4,040.91
               2/21/2023        Butler Snow LLP                                    $               2,566.25
               2/21/2023        Irwin Fritchie Urquhart Moore & Daniels LLC        $              16,362.06
               2/21/2023        Miller Thomson LLP in Trust                        $              33,658.95
               2/21/2023        MoloLamken LLP                                     $               9,400.00
               2/21/2023        Patterson Belknap Webb & Tyler LLP                 $              10,324.58
               2/21/2023        Shook Hardy Bacon LLP                              $              29,707.80
               2/21/2023        Skadden Arps Slate Meagher Flom, LLC               $             161,631.23
               2/21/2023        Traurig Law LLC                                    $                 612.00
               2/21/2023        Wollmuth Maher Deutsch LLP                         $             101,257.73
               2/22/2023        McCarter English, LLP                              $              24,274.40
               2/22/2023        Parkins Lee Rubio LLP                              $              38,751.00
               2/23/2023        AlixPartners, LLP                                  $              28,731.20
               2/23/2023        Bailey Glasser LLP                                 $             116,845.02
               2/23/2023        Epiq Corporate Restructuring LLC                   $              49,717.65
               2/23/2023        FTI Consulting, Inc.                               $             707,566.35
               2/23/2023        Orrick, Herrington & Sutcliffe, LLP                $              50,969.27
               2/23/2023        The Brattle Group Inc.                             $              69,708.00
        Total Professional Fee Disbursements                                       $           2,778,266.50

        ii. Miscellaneous Other Disbursements
               2/10/2023        Alliance Technologies LLC                          $               3,389.50
               2/21/2023        Triality LLC                                       $               1,460.00
        Total Miscellaneous Other Disbursements                                    $               4,849.50


        Total Cash Disbursements                                                   $           2,783,116.00
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Account Activity Report
Company: LTL Management LLC
Requestor :
Run Date : 27-Feb-2023 11:43:26 EST
Query Range: 29-Jan-2023 - 27-Feb-2023
Bank of America, North Carolina |
Account | LTL Management LLC (USD)
 Date          Description                        Transaction                               Amount     Ledger Balance

23-Feb-2023    WIRE TYPE:BOOK OUT DATE:022323     Outgoing Internl Money Trnsfr (491)   (707,566.35)    15,784,310.65
               T
23-Feb-2023    WIRE TYPE:BOOK OUT DATE:022323     Outgoing Internl Money Trnsfr (491)    (28,731.20)    16,491,877.00
               T
23-Feb-2023    WIRE TYPE:WIRE OUT DATE:022323     Outgoing Money Transfer Debit (495)   (116,845.02)    16,520,608.20
               T
23-Feb-2023    WIRE TYPE:WIRE OUT DATE:022323     Outgoing Money Transfer Debit (495)    (69,708.00)    16,637,453.22
               T
23-Feb-2023    WIRE TYPE:WIRE OUT DATE:022323     Outgoing Money Transfer Debit (495)    (50,969.27)    16,707,161.22
               T
23-Feb-2023    WIRE TYPE:WIRE OUT DATE:022323     Outgoing Money Transfer Debit (495)    (49,717.65)    16,758,130.49
               T
22-Feb-2023    WIRE TYPE:WIRE OUT DATE:022223     Outgoing Money Transfer Debit (495)    (38,751.00)    16,807,848.14
               T
22-Feb-2023    WIRE TYPE:WIRE OUT DATE:022223     Outgoing Money Transfer Debit (495)    (24,274.40)    16,846,599.14
               T
21-Feb-2023    WIRE TYPE:BOOK IN DATE:022123 TI   Incoming Internl Money Trnsfr (191)   4,200,000.00    16,870,873.54
21-Feb-2023    WIRE TYPE:BOOK OUT DATE:022123     Outgoing Internl Money Trnsfr (491)     (1,460.00)    12,670,873.54
               T
21-Feb-2023    WIRE TYPE:WIRE OUT DATE:022123     Outgoing Money Transfer Debit (495)   (414,472.00)    12,672,333.54
               T
21-Feb-2023    WIRE TYPE:WIRE OUT DATE:022123     Outgoing Money Transfer Debit (495)   (161,631.23)    13,086,805.54
               T
21-Feb-2023    WIRE TYPE:WIRE OUT DATE:022123     Outgoing Money Transfer Debit (495)   (109,495.60)    13,248,436.77
               T
21-Feb-2023    WIRE TYPE:WIRE OUT DATE:022123     Outgoing Money Transfer Debit (495)   (101,257.73)    13,357,932.37
               T
21-Feb-2023    WIRE TYPE:WIRE OUT DATE:022123     Outgoing Money Transfer Debit (495)    (50,185.60)    13,459,190.10
               T
21-Feb-2023    WIRE TYPE:WIRE OUT DATE:022123     Outgoing Money Transfer Debit (495)    (29,707.80)    13,509,375.70
               T
21-Feb-2023    WIRE TYPE:WIRE OUT DATE:022123     Outgoing Money Transfer Debit (495)    (16,362.06)    13,539,083.50
               T
21-Feb-2023    WIRE TYPE:WIRE OUT DATE:022123     Outgoing Money Transfer Debit (495)    (10,324.58)    13,555,445.56
               T
21-Feb-2023    WIRE TYPE:WIRE OUT DATE:022123     Outgoing Money Transfer Debit (495)     (9,400.00)    13,565,770.14
               T
21-Feb-2023    WIRE TYPE:WIRE OUT DATE:022123     Outgoing Money Transfer Debit (495)     (2,566.25)    13,575,170.14
               T
21-Feb-2023    WIRE TYPE:WIRE OUT DATE:022123     Outgoing Money Transfer Debit (495)       (612.00)    13,577,736.39
               T
21-Feb-2023    WIRE TYPE:FX OUT DATE:022123       International Money Trnsfr DR (508)    (33,658.95)    13,578,348.39
               TIM
21-Feb-2023    WIRE TYPE:FX OUT DATE:022123       International Money Trnsfr DR (508)     (4,040.91)    13,612,007.34
               TIM
10-Feb-2023    WIRE TYPE:BOOK OUT DATE:021023     Outgoing Internl Money Trnsfr (491)     (3,389.50)    13,616,048.25
               T
10-Feb-2023    WIRE TYPE:WIRE OUT DATE:021023     Outgoing Money Transfer Debit (495)    (20,852.00)    13,619,437.75
               T
08-Feb-2023    WIRE TYPE:WIRE OUT DATE:020823     Outgoing Money Transfer Debit (495)    (91,222.19)    13,640,289.75
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08-Feb-2023    WIRE TYPE:WIRE OUT DATE:020823     Outgoing Money Transfer Debit (495)    (25,440.00)    13,731,511.94

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              TIM
03-Feb-2023   WIRE TYPE:WIRE OUT DATE:020323   Outgoing Money Transfer Debit (495)   (216,113.67)   13,761,093.17
              T
03-Feb-2023   WIRE TYPE:WIRE OUT DATE:020323   Outgoing Money Transfer Debit (495)   (165,672.18)   13,977,206.84
              T
03-Feb-2023   WIRE TYPE:WIRE OUT DATE:020323   Outgoing Money Transfer Debit (495)    (52,903.63)   14,142,879.02
              T
03-Feb-2023   WIRE TYPE:WIRE OUT DATE:020323   Outgoing Money Transfer Debit (495)    (31,644.00)   14,195,782.65
              T
01-Feb-2023   WIRE TYPE:BOOK OUT DATE:020123   Outgoing Internl Money Trnsfr (491)   (140,000.00)   14,227,426.65
              T




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In re LTL Management LLC                                                            Case No.                   21‐30589 (MBK)
      Debtor                                                                Reporting Period:    January 30 ‐ February 26, 2023


                                                     Royalty A&M LLC

                                                        Balance Sheet
                                                    (Dollars in Millions)




    Assets                                                                    October 14, 2021        February 26, 2023
    Current Assets
    Cash                                                            $                     ‐      $                39.68
    Other Receivable – Royalties1                                                         ‐                       29.26
    Total Current Assets                                                                  ‐                       68.94
    Intangible Assets, Net of Amortization                                             367.13                    333.21
    Total Assets                                                    $                  367.13    $               402.14
    Liabilities & Shareholders Equity
    Accrued Liabilities                                                                   ‐                         ‐
    Due to LTL Mgmt.                                                                      ‐                        0.03
    Due to Affiliate                                                                      ‐                        0.00
    Accrued Taxes                                                                         ‐                         ‐
    Total Liabilities                                               $                     ‐      $                 0.03
    Shareholders Equity
    Paid in Capital                                                                    367.13                    367.13
    Retained Earnings                                                                     ‐                       34.98
    Total Shareholders Equity                                       $                  367.13    $               402.11
    Total Liabilities & Shareholders Equity                         $                  367.13    $               402.14

    1
        Amounts reported are estimates, and subject to reconciliation to future sales results.
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                                                  03/21/23 Entered 04/24/23
                                                                     03/21/23 12:06:09
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In re LTL Management LLC                                               Case No.                   21‐30589 (MBK)
      Debtor                                                   Reporting Period:    January 30 ‐ February 26, 2023



                                           Royalty A&M LLC


                                          Statement of Earnings
                                           (Dollars in Millions)
                                                             October 14, 2021 ‐         January 30, 2023 ‐
                                                              February 26, 2023         February 26, 2023


    Royalty Income                                        $                 99.71   $                    3.39

    Financial Services                                                       0.13                        0.00
    General & Administrative                                                 1.17                        0.02
    Intangibles Amortization                                                63.42                        2.22
                                                                              ‐
    Income Before Provision for Taxes                                       34.98                        1.14
    Provision for Taxes on Income                                             ‐                           ‐
    Net Income                                            $                 34.98   $                    1.14
